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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In Re:                                    )
                                          )                Chapter 11
PELICAN REAL ESTATE, LLC, et al.          )
                                          )
                                          )                Case No. 6:16-bk-03817-CCJ
                                          )
                  Debtors.                )                Jointly Administered with:
                                          )
                                          )                Case No.:6:16-bk-03820-CCJ;
                                          )                Case No.:6:16-bk-03822- CCJ;
                                          )                Case No.:6:16-bk-03823- CCJ;
                                          )                Case No.:6:16-bk-03825- CCJ;
                                          )                Case No.:6:16-bk-03827- CCJ;
                                          )                Case No.:6:16-bk-03828- CCJ;
                                          )                Case No.:6:16-bk-03829- CCJ; and
                                          )                Case No.:6:16-bk-03830- CCJ.
__________________________________________)

    NOTICE OF WITHDRAWAL OF OBJECTION TO LIQUIDATING TRUSTEE’S
     MOTION TO EXTEND DEADLINE TO FILE ADVERSARY PROCEEDINGS

         Tom Shieh, an individual (“Shieh”), Acts Innovations, LLC (“ACTS”), Del Paso

Management, LLC (“Del Paso”), and Crimcheck Holdings, LLC (“Crimcheck”) (collectively the

“Shieh Parties”) jointly file this notice of withdrawal of objection to the Liquidating Trustee’s

Motion to Extend Deadline to File Adversary Proceedings (Dckt # 795).

Respectfully Submitted this 11th day of May, 2018.

                                                    /s/ Brian A. McDowell
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                                                   Facsimile: (407) 244-5288
                                                   Counsel for Acts Innovations, LLC, Tom
                                                   Shieh, Del Paso Management, LLC, and
                                                   Crimcheck Holdings, LLC

                               CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2018, a true and correct copy of the foregoing Objection

was served via the Court's CM/ECF System to all parties requesting such notice.

                                                   /s/ Brian A. McDowell
                                                   Attorney




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